Case 5:17-cv-O4884-.]FL Document 1 Filed 10/31/17 Page 1 019
CIVIL COVER SHEET

13 44 (Rev. 06/1?)

The JS 44 civil cover sheet and lhe informalion contained herein neither replace nor sup%lemem the filing and service of
provided by local mies of court. This form, approved by the Judicz`al Cunference ofrhe
purpose of inill'uung the civil docket sheet.

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pleadings or other papers as required by law, except as

niled States in September 1974, is required for the use 01`1he Cl::rk 01` Court fur the

 

I. (a) PLAINTIFFS
George A. Kurtz

(b) County of Residence of` First Listed Plaintiff
(EXC¢':'PT [N U.S. PLA/NT!FF CASES)

Ri[(’F|£ rédjo[€j:l}[€)gkrim Namc', Addre.\'s, mud Telepfmna Number)
The OFIOSI-<i Law Firm, 111 N. Cedar Crest Blvd. Alfentown, PA 18104

610-433-2363

Leh_ie_b__ ,

 

NO'I`E:

DEFENDANTS
Superior Coffee Services. LLC

Coumy of Residence ofl~`irst Listed Defendant

(lN U.S. PLA!NT!FF` CA.S`E.S` ONL})W¢ 7 77

lN LAND CONDEM'NA‘[`ION CASES, USE THE LO(.`A']`ZON OF
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III. CIT!ZENSHIP GF PRINCIPAL PARTIES (Pfacc' an "X"I`n ()lre
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VI. CAUSE OF ACTION

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DEMAND $

CHECK YES only if demanded in complaint

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMANI)= 151 Yes n N@
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JUDUE MAU\ JUDGE

Case 5:17-cv-O4884-.]FL Document 1 Filed 10/31/17 Page 2 019

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Georg< A. 1<W+7, r CIVIL ACTION
v. l
Sttpcr?zrr Col:€cc Sar\n`oca, LL@ § NO.

In accordance With the Civil Justice Expense and Dclay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Fonn in all civil cases at the time of
filing the complaint and serve a copy on all defendants (See § 1:03 of the plan set forth on the reverse
side of this form,) In the event that a defendant does not agree With the plaintiff regarding said
designation, that defendant shall, With its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Managcmcnt Tracl< Designation Form specifying the track
to Which that defendant believes the case should be assigned

SELECT ONE OF THE FOLLOWING CASE MANAGEMEN'I` TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Sccial Sccurity Benetits. ( )

(c) Arbitration § Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos _ Cases involving claims for personal injury or property damage from
exposure toi_asbestos. ( )

(c) Spccial Managemcnt - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.) ( )

(t) Standard Management - Cases that do not fall into any one of the other tracks %

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Date Attorney-at-lsvl"v Attorney for P/A‘.i n-l'i§{
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[Civ. 660) 10102

Case 5:17-cv-O4884-.]FL Document 1 Filed 10/31/17 Page 3 of 9
UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA - DESIGNATION FORM to be used by counsel to indicate the category ofthe case for the purpose of
assignment to appropriate calendar.

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{Attach two copies of`the Disclosure Statement Form in accordance with Fed.R.CiviP. 7.l{a)) Yesl:l No
Does this case involve multidistrict litigation possibilities? YesG NQK
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Civil cases are deemed related when‘yes is answered to any ofthe following questions:

!. ls this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?

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2. Does this case involve the same issue of fact or grow out ofthe same transaction as a prior suit pending or within one year previously terminated
action itt this court? ,
Yeslj NDX

3. Docs this case involve thc validity or infringement ofa patent already in suit or any earlier numbered case pending or within one year previously

terminated action in this court? ` Yesl:l No

4. ls this case a second or successive habeas corpus. social security appeal, or pro se civil rights case filed by the same individuai?

YesL-.J NQM

 

ClVlL: (Place l/ in ONE CA'I`EGORY ONLY)

 

 

 

 

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ARBITRATION CERTIFICATION
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I, . counsel oi`record do hereby cenify:
ll Pursuant to Local Civil Rule 53.2, Scction 3(c}(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum ot`
3150,(}00.00 exclusive oi`intcrcst and costs; No k`\' ; .},- ‘_J.- .. _ C g u-
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El Rclief other than monetary damages is song
DATE:
l Attorney-at-Law Attorney f,D.#

NOTE: A trial de novo will be a trial by jury only it`there has been compliance with F.R.C.P. 38.

 

l certify that, to my knowiedge, the within case is not related to any case now pending or within one year previously terminated action in this court
except ns noted above.

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Case §:17-cV-O4884-.]FL Document 1 Filed 10/31/17 Page 4 of 9

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

GEORGE A. KURTZ

Plaintiff
N().
vs.
SUPERIOR COFFEE SERVICES, LLC :
l)efendant : JURY TRIAL DEMANDED
COMPLAINT
l. Plaintiff, George A. Kurtz, is an adult individual residing at 935 N. 32"d Street,
Allentown, Lehigh County, Pennsylvania 18104.
2. Defcndant, Superior Coffee Services, LLC (hereinafter “Defendant Superior

Coffee”) is a limited liability company organized under the laws of the state of New Jersey with
its principal place of business located at l 177 Lakewood Fanningdale Road, Howell, New Jersey
07731.
JURISDICTION AND VENUE

3. This Honorable Court has jurisdiction over this matter pursuant to its diversity
jurisdiction, codified at 28 U.S.C. §1332, because the parties are citizens of different states, and
the amount in controversy exceeds 375,000.00.

4. Venue is proper in this jurisdiction pursuant to 28 U.S.C. §139l(a)(2) in that this
is a judicial district in Which a substantial part of the events or omissions giving rise to the claims

asserted in this Cornplaint occurred in this judicial district

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COUNT ONE - NEGLIGENCE
(PLAINTIFF GEORGE A. KURTZ V.
DEFENDANT SUPERIOR C()FFEE SERVICES, LLC)

5. The allegations of paragraphs l through 4 inclusive are incorporated herein as if
fully set forth at length.
6. At_ all relevant times, Defendant was acting through its employee, Ulpiano Antone

Ortiz, Jr., whom it employed as a truck driver, and whom was acting in the course and scope of
his employment on February 21, 2017.

7. At all relevant times, Ulpiano Antone Ortiz, Jr., was an agent, servant, workman
and/or employee of Defendant, Superior Coffee, acting within the course and scope of his
employment and in furtherance of Defendant, Superior Coffee’s, business interests

8. On February 21, 2017, at approximately 10:20 a.m., Plaintiff, George A. Kurtz,
owned and operated a 1999 Ford Ranger and was traveling westbound in the left turn only lane on
Paper Mill Road, at or near its intersection with Stenton Avenue, in Erdenheim, Montgomery
County, Pennsylvania 19038, and was stopped in traffic

9. On February 21, 2017, at approximately 10:20 a.m., Defendant, Superior Coffee,
allowed its driver, Ulpiano Antone Ortiz, Jr., to operate its 2016 Ford Econoline EZSU being owned
by Defendant Superior Coffee and was traveling westbound in the left turn only lane on Paper Mill
Road, at or neall its intersection with Stenton Avenue, in Erdenheim, Montgomery County,
Pennsylvania 19038_

10. On February 21, 2017, at approximately 10:20 a.m., Defendant, Superior Coffee,
negligently and carelessly allowed the operator of its vehicle in such a way that he was unable to

stop and violently drove his vehicle into the rear portion of the vehicle being driven by Plaintiff,

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George A. Kurtz,_thereby causing serious and permanent injuries and damages to Plaintiff, George
A. Kurtz.
ll. At all material times hereto, Plaintiff, George A. Kurtz, was a full-tort insured
12. On the aforementioned date and at the aforesaid time and place, Defendant,
Superior Coffee, was negligent and careless in the following respects:
(a) by operating his vehicle at an excessive rate of speed;
(b) by operating his vehicle at a speed in excess of the speed limit;
(c) by failing to pay attention to traffic in front of him;
(d) by failing to keep a proper lookout',
(e) by failing to keep his vehicle under control while driving;
(f) by failing to stop his vehicle so as to avoid striking Plaintiffs vehicle on the
road directly in front of him',
(g) by not obeying the rules of the road as codified in the Pennsylvania Motor
Vehicle Code; and
(h) negligence per se.
l3. As a direct and consequential result of the negligent and/or careless conduct of
Defendant, described above, Plaintiff, George A. Kurtz, sustained bodily injuries including his
back, neck, bilateral shoulders, hip, right elbow and body including, but not limited to, myalgia,
cervical region spinal enthesopathy, cervical sprain and strain, cervicalgia, bilateral shoulder pain,
lumbar sprain, lumbar region spinal enthesopathy, thoracic region spinal enthesopathy, left hip
strain and contusion of right elbow, for which damages are claimed
14. As a proximate result of Defendant’s negligence, Plaintiff, George A. Kurtz, may

in the future be compelled to expend sums of money in the procurement of medicines, medical

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attention, and other treatment not covered by insurance rendered necessary by reason of aforesaid
injuries, to his detriment and loss, financial and otherwise

15. As a direct and proximate result of Defendant’s negligence, Plaintiff, George A.
Kurtz, has suffered physical and mental pain, anguish, anxiety, distress, discomfort and
inconvenience, for which damages are claimed

16. As a direct and proximate result of Defendant’s negligence, Plaintiff, George A.
Kurtz, has lost income, revenues, wages and other compensation

17. Plaintiff George A. Kurtz’s injuries are permanent and do, and will, prevent
Plaintiff, George A. Kurtz, from enjoying life’s pleasures, associations and companionships.

18. The damages suffered by Plaintiff, George A. Kurtz, are permanent

WHEREFORE, Plaintiff, George A. Kurtz, demands that judgment be entered in his
favor and against Defendant, Superior Coffee Services, LLC, in an amount in excess of Seventy

Five Thousand (375,000.00) Dollars, plus all costs and other relief this court deems necessary.

COUN'I` II - NEGLIGENT ENTRUSTMENT
GEORGE A. KURTZ V. SUPERIOR COFFEE SERVICES. LLC

19. The allegations of paragraphs l through 18 inclusive are incorporated herein as if
fully set forth at length.
20. The aforesaid accident was caused by the negligence, carelessness and
recklessness of D'efendant, Superior Coffee, in that it, inter alia, did:
a) commit the acts of negligence, carelessness and recklessness committed
by its agent, servant, workman and/or employee, Ulpiano Antone Ortiz, Jr.;
b) fail to properly inspect, care for, clean, repair and maintain its vehicle in
such a condition as to adequately safeguard the rights, safety and position of Plaintiff, George A.

Kurtz, and others similarly situated;

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c) entrust its vehicle to Ulpiano Antone Ortiz, Jr., when it knew or should
have known that he had a propensity to act in a negligent or reckless manner;

d) direct, order and/or permit Ulpiano Antone Ortiz, Jr., to operate its vehicle
when it knew, or should have known, that he intended to or was likely to use the vehicle to
conduct himself as a driver in such a manner as to create an unreasonable risk of harm to others
in violation of the Restatement (Second) of Torts Section 308;

e) direct, order and/or permit Ulpiano Antone Ortiz, Jr., to operate its vehicle
when it knew, or §should have known, that he was not properly trained and certified to operate the
vehicle in a safe and prudent manner;

D fail to provide sufficient and proper instruction, education and training to
Ulpiano Antone Ortiz, Jr., that was necessary for him to operate the vehicle in a safe and prudent
manner;

g) direct, order or permit Ulpiano Antone Ortiz, Jr., to operate the vehicle
without him or another employee or independent contractor retained by Defendant, Superior
Coffee, first performing proper safety inspection, maintenance and repairs, when it knew, or
should have known, that said proper safety inspections, maintenance and repairs were not
performed;

h) direct, order or permit Ulpiano Antone Ortiz, Jr., to operate the vehicle
when he was distracted and when it knew, or should have known, that he was distracted and that
his distraction rendered him incapable of operating the vehicle in a safe and prudent manner;

i) fail to hire, employ and/or promote various agents, servants, workmen
and/or employees with the responsibility and obligation to properly inspect, maintain, service

and/or repair said vehicle and to properly train operators; and

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j) fail to comply with its own policies, procedures and programs which were
designed to ensure that vehicles being operated by its employees were properly inspected,
maintained, serviced and/or repaired to ensure that its operators and employees charged with
inspecting, maintaining, servicing and/or repairing said vehicles were properly trained,
competent, capable of or actually performing the requirements of their employment, to ensure
that is operators and employees charged with inspecting, maintaining, servicing and/or repairing
said vehicles were complying with Defendant’s policies, procedures, guidelines and standards of
care and safety, and to ensure that it, and its employees were complying with all state statutes
and regulations `

WHEREFORE, Plaintiff, George A. Kurtz, demands that judgment be entered in his
favor and against Defendant, Superior Coffee Services, LLC, in an amount in excess of Seventy

Five Thousand ($75,000.00) Dollars, plus all costs and other relief this court deems necessary

THE ORLOSKI LA WFIRM

tait/rv

Richard .i. Oi‘lf)ski
Attorney for Plaintiff
Attorney ID No. 09857
ll l N. Cedar Crest Blvd.
Allentown, PA 18104
610-433-2363

